Case 1:03-cV-01229-.]DB-tmp Document 36 Filed 07/08/05 Page 1 of 3 Page|D 71

file »
UNITED sTA TES DISTRICT COURT go `);j
WESTERN DISTRICT oF TENNESSEE `” ~/-"-ff 3 w t

EASTERNDIVISIoN . -____ id ’/3‘ 143

.' "-/

 

 

CORNELIUS MADDUX, JUDGMENT IN A CIVIL CAS

Plaintiff,
v.

CORRECTIONS CORPORATION CASE NO: ]:03-1229-B
OF AMERICA, et al.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND AD.]UDGED that in accordance with the Agreed Order Of
Dismissal With Prejudice entered on July 5, 2005, this cause is hereby dismissed with prejudice.

 

THoMAs M. ao_u.D
Clerk of Court

C.;M

(By) Deputy Clerk

 

This document entered on the docket sheet in compiiance
with mae ss anew 79 ray FscP on __O__?_-_){}_;Q§ n m

 

ESTRNE 1

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 1:03-CV-01229 Was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listedl

 

W. Gaston Fairey

FAIREY PARISE & 1\/HLLS7 P.A.
P.O. Box 8443

Columbia, SC 29202

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KrloX\/ille7 TN 37901--112

Terry Williams

WILLIAMS LAW OFFICE
250 E. Wisconsin Ave.
MilWaukee, WI 53202--423

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KrloX\/ille7 TN 37901

.1 ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

.1 oseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Case 1:03-cV-01229-.]DB-tmp Document 36 Filed 07/08/05 Page 3 of 3 Page|D 73

Honorable .1. Breen
US DISTRICT COURT

